          Case 1:20-cv-00767-RP Document 26 Filed 02/25/21 Page 1 of 3




                      UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

DR. THOMAS HUBBARD, PhD,

      Plaintiff,

v.                                                              Case No. 1:20-cv-767

SARAH ALLEN BLAKEMORE and JOHN
DOES 1-10,

      Defendants.



     JOINT MOTION TO ENTER CONFIDENTIALITY AND PROTECTIVE ORDER


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

1.     Plaintiff Thomas Hubbard, and Defendant Sarah Blakemore (collectively, the “Parties”),

by and through their respective counsel, respectfully request that the Court enter the

accompanying Confidentiality and Protective Order, which is in the form set out in Appendix H

of the Local Rules for the United States District Court for the Western District of Texas.

2.     The Parties respectfully request that the Court enter the accompanying proposed

Confidentiality and Protective Order in order to facilitate document disclosure, information

disclosure, production, and to protect the Parties’ confidential information.

                                             PRAYER

3.     WHEREFORE PREMISES CONSIDERED, the Parties respectfully request that this

Court grant this proposed Confidentiality and Protective Order, and for all other relief to which

the Parties may be justly entitled in law or equity.

Dated: February 25, 2021




                                                  1
Case 1:20-cv-00767-RP Document 26 Filed 02/25/21 Page 2 of 3




                           Respectfully submitted,

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                              2
          Case 1:20-cv-00767-RP Document 26 Filed 02/25/21 Page 3 of 3




                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of February 2021, a true and correct copy has been
electronically filed on the CM/ECF system, which will automatically serve a Notice of
Electronic Filing on the following attorney of record:

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